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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              :
UNITED STATES OF AMERICA                      :      Case No.: 23-cr-00266-BAH
                                              :
         v.                                   :
                                              :
TYLER BRADLEY DYKES,                          :
                                              :
         Defendant.                           :
                                              :

              UNITED STATES’ REPORT AND POSITION REGARDING PUBLIC
                      RELEASE OF PHOTO AND VIDEO EVIDENCE

         The United States will make the below video and photo evidence available to the Court

electronically in preparation for the plea hearing and subsequent sentencing of the defendant in the

above referenced matter.     The United States does not object to any digital evidence, from Body

Worn Camera, Capitol CCTV, or open sources being release to the public.

     #           File Name             Source             Length and                 Location
                                                       Relevant Portion              Depicted
                                                         If Applicable
 1       Ex. 1 – Screenshot of     Open source       SOO ¶ 12                   D.C.
         Dykes Route to
         Capitol.jpg
 2       Ex. 2 - Dykes Snow        Open source       SOO ¶¶ 13, 14,             Capitol North
         Fence Removal.mp4                           0:18 – 0:43                Lawn
                                                     (“area closed” sign
                                                     affixed to snow fence)
 3       Ex. 3 – Screenshot of     Open source       SOO ¶ 14                   Capitol East Plaza
         Dykes Bicycle Rack
         Moving.jpg
 4       Ex. 4 - Dykes At Front    Open source       SOO ¶ 15,                  Capitol East Plaza
         on East Steps                               0:04 – 0:32
                                                     (appears left of screen in
                                                     beginning, celebrates at
                                                     top of stairs at approx.
                                                     0:32)
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    #         File Name             Source              Length and                 Location
                                                     Relevant Portion              Depicted
                                                       If Applicable
5       Ex. 5 - 20 Min Clip      Open source       SOO ¶ 16, generally         Capitol East
        East Rotunda Doors                                                     Rotunda Doors
                                                   SOO ¶ 17, 6:05
                                                   (flashbang); 6:50 (doors
                                                   are opened); 7:52
                                                   (Dykes visible, moving
                                                   towards doors)

                                                   SOO ¶ 18, 15:50 (Dykes
                                                   visible, moving towards
                                                   doors);17:39 (Dykes
                                                   grabs riot shield, begins
                                                   pulling)

                                                   SOO ¶¶ 19, 20, 21,
                                                   17:39 – 17:50 (Dykes
                                                   fights for shield,
                                                   succeeds); 17:53 – 19:05
                                                   (Dykes lifts shield
                                                   overhead, reorients
                                                   himself/the shield);
                                                   17:55 – 18:03 (other
                                                   rioters pepper spray and
                                                   fight police line);19:05 -
                                                   end (Dykes uses shield
                                                   to push forward); 20:11
                                                   (East Rotunda doors re-
                                                   breached)
5A      Ex. 5A - Shield Steal    Open source       SOO ¶¶ 18, 19, 20, 21      Capitol East
        Angle 2 - East Rotunda                                                Rotunda Doors
        Doors.mp4
6       Ex. 6 - Dykes Shield     Open source       SOO ¶ 21, 22                Capitol East
        Push East Rotunda                                                      Rotunda Doors
        Doors.mp4
7       Ex. 7 - Dykes Entry -    Open source       SOO ¶ 22, 23, 0:23          Capitol East
        Traitors Chant.mp4                         (Dykes visible just         Rotunda Doors
                                                   inside doors); 0:32
                                                   (treason chant)
8       Ex. 8 - Dykes in         Open source       SOO ¶ 22, 23, 0:13 -        Capitol Rotunda
        Rotunda.mpeg4                              end

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    #         File Name             Source              Length and               Location
                                                     Relevant Portion            Depicted
                                                       If Applicable
9       Ex. 9 - Dykes Shield     Open source       SOO ¶ 24, 25              Capitol Senate
        Push Senate Hall                                                     Hallway
10      Ex. 10 – Screenshot      MPD BWC           SOO ¶ 24, 25 (Dykes’s     Capitol Senate
        from J. Love BWC                           hat and stolen shield     Hallway
        X6039BJN1                                  visible)
11      Ex. 11 – J. Love BWC     MPD BWC           SOO ¶ 24, 25, approx.     Capitol Senate
        X6039BJN1 – Senate                         3:00 – 7:00               Hallway
        Hall Push
12      Ex. 12 – Dykes Exit -    CCTV              SOO ¶ 26, 0:00 – 1: 15    Capitol East
        USCS 02 Rotunda                                                      Rotunda Doors
        Door Interior-2021-01-                                               Interior
        06_14h53min38s000m
        s.asf
13      Ex. 13 – Screenshot of   Open source       SOO ¶ 27                  Capitol West Side
        Dykes West Side


                                          Respectfully submitted,

                                          MATTHEW M. GRAVES
                                          United States Attorney
                                          D.C. Bar No. 481052


                                    By:   /s/ Samantha R. Miller
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